                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

       Zacchery Belval,                           :
                                                  :
              Plaintiff                           :
                                                  :
                     v.                           :
                                                  :
       Electric Boat Corporation,                 :
                                                  :             October 23, 2023
              Defendant                           :

                                           COMPLAINT

I.     INTRODUCTION

       1.     The plaintiff, Zacchery Belval, brings this action alleging that his employer, the

defendant Electric Boat Corporation, has discriminated against him in the terms and

conditions of his employment because of his disability; a/d/or has failed and refused to

provide him with reasonable accommodations that would ensure his ability to perform the

essential functions of his job and provide him with access to the benefits and privileges of

employment equal to those enjoyed by similarly-situated employees without disabilities. The

plaintiff states claims for violation of his rights under the Americans with Disabilities Act, 42

U.S.C. 12101, et seq, as amended, and the Connecticut Fair Employment Practices Act,

Conn.Gen.Stat. 46a-60, et seq. The plaintiff seeks injunctive relief; compensation for his

economic damages and for his pain, suffering, and emotional distress; reasonable attorney’s

fees and costs; and prejudgment and post-judgment interest; and such other relief as the

Court may award.

II.    JURISDICTION AND VENUE

       2.     This Court has jurisdiction pursuant to 28 U.S.C. §1331. With respect to the

state law claims, this Court has supplemental jurisdiction pursuant to 28 U.S.C. §1367 in that
the state law claims are so related to the federal claims that they form part of the same case

or controversy under Article III of the United States Constitution.

        3.      Venue is appropriate in the District of Connecticut pursuant to 28 U.S.C.

§1391(b), because a substantial part of the events giving rise to his claim occurred within this

judicial district.

III.    ADMINISTRATIVE PROCEEDINGS

        4.      On or about July 28, 2023, the Connecticut Commission on Human Rights and

Opportunities issued a release of jurisdiction as to the plaintiff’s administrative complaint of

disability discrimination.

        5.      On or about August 4, 2023, the federal Equal Employment Opportunities

Commission issue a Right to Sue letter in connection with the plaintiff’s administrative

complaint of disability discrimination.

IV.     PARTIES

        6.      The plaintiff is Zacchery Belval, who resides at 29 Cora Street, Enfield,

Connecticut.

        7.      Zacchery Belval is a qualified person with a disability as that term is defined at

42 U.S.C. §12102(1) and is disabled as that term is defined at Conn.Gen.Stat.§46a-51(15).

Belval suffers from several serious health conditions, including a complex congenital heart

defect, heterotaxia (the inversion and abnormal arrangement of organs), the lack of a spleen

(which seriously compromises his immune system against infections), an impaired circulatory

system, and severe anxiety that requires medication and counseling, and which has caused

symptoms such as high blood pressure. He is substantially limited in major life activities,

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inasmuch as his condition and treatment for his condition cause him to experience severe

fatigue, limit the length of time and distance he can walk, and place him at a very high risk of

infection that can be life-threatening.

       8.     At all times relevant to this Complaint, Zacchery Belval was an employee of the

defendant as that term is defined at 42 U.S.C. §12111(4) and Conn.Gen.Stat. §46a-51(9).

       9.     The defendant Electric Boat Corporation (hereinafter, “Electric Boat”) is a

Delaware corporation with its principal place of business at 75 Eastern Point Road, Groton,

CT 06340. Electric Boat employs more than ten thousand (10,000) people in Connecticut. At

all times relevant to the Complaint, Electric Boat is an employer as that term is defined at 42

U.S.C. §12111(5) and Conn.Gen.Stat. §46a-51(10).

V.     FACTS

       10.    The defendant hired the plaintiff as a senior drafter on or about November 1,

2017, promoting him to designer on or about July 1, 2020.

       11.    The plaintiff’s duties mostly involved paperwork, mainly editing documents

prepared by Electric Boat engineers, from the time he was hired.

       12.    Due to the plaintiff’s uncommon physical conditions, he is at risk of improper

diagnosis and treatment if he requires emergency medical care from unfamiliar medical

providers.

       13.    Due to the plaintiff’s medical conditions and the heightened risks of

complications he faces in the event of contracting COVID-19 or other infections, during his

employment by the defendant it was far healthier for the plaintiff to not have to be present at

the defendant’s boat yard in Groton.

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       14.    The walk from the parking lot to the plaintiff’s office (about a quarter-mile each

way) was physically challenging for him, as was the commute to and from the Groton facility.

       15.    In addition, the office work environment itself created dangerous stress for the

plaintiff. Poor ventilation, mold and dampness in the building, and the crowded work spaces

combined to substantially increase the plaintiff’s risk of COVID-19 and other infections.

       16.    During the late Summer and early Fall of 2020, the defendant began allowing

many of its employees to work from home due to the risks presented by the COVID-19

pandemic, including everyone in the plaintiff’s department.

       17.    During the implementation of the defendant’s work-from-home policy, the

majority of the plaintiff’s team members continued to work at home, with some reporting to the

office one day a week.

       18.    Not long after the work-from-home policy began, the plaintiff’s manager began

requesting that he return to office-based work. Through October 2021 the plaintiff was

generally able to make alternate arrangements with support from his union representative and

supportive medical documentation from his health care providers.

       19.    The work performed by the plaintiff can be done remotely, with any

communications via email or phone calls when necessary, as it is mental labor that mainly

consists of editing documents, the work is solitary, and does not lend itself to visual

supervision by a manager.

       20.    Although the plaintiff held a security clearance as part of his job, the documents

he worked on were not highly sensitive in nature. The plaintiff obtained a company-owned



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computer that helped to alleviate any security concerns involving the use of his personal

laptop.

       21.     As was shown by the defendant’s implementation of its work-from-home policy

as it applied to the plaintiff and to others in his department, the essential functions of the

plaintiff’s job can be performed adequately from a remote location without coming into the

boat yard at all.

       22.    The plaintiff continued working from home through October 12, 2021, when he

began a period of Family Medical Leave Act leave pursuant to a letter from his doctor, who

said the plaintiff should not physically return to work in order to avoid contracting COVID-19.

       23.    The defendant ignored the plaintiff’s doctor’s letter and requested he return to

work in person.

       24.    The plaintiff’s FMLA period ended on January 3, 2022.

       25.    The APRN who regularly treated the plaintiff wrote a letter dated January 4,

2022, recommending that the plaintiff continue working from home.

       26.    The defendant offered to allow the plaintiff to work from home one or two days a

week. This was an insufficient accommodation that would have placed the plaintiff at

substantial risk of contracting COVID-19 and other infections.

       27.    Because the plaintiff was not cleared by a doctor to physically return to work, he

was unable to return to the boat yard, he was placed on an extended leave of absence that

continued through April 10, 2023.

       28.    On or about April 14, 2023, the plaintiff contacted the defendant’s Occupational

Health Center to reiterate his request that he be reasonably accommodated by being

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permitted to work from home. The telephone call went to voice mail, and on or about April 17,

2023, a staff person from the Occupational Health Center returned the plaintiff’s call.

       29.    The Occupational Health Center staff person claimed to be unaware of any

request from the plaintiff for a reasonable accommodation for his disabilities.

       30.    The plaintiff re-stated his request that he be given a reasonable accommodation

of his disabilities such that he work full time remotely from home.

       31.    On or about April 18, 2023, the plaintiff sent an email to the Occupational Health

Center memorializing the April 17 telephone conversation described above. The plaintiff

included as attachments to the email documents reflecting his prior requests to be allowed to

work remotely from home and offered to provide whatever updated medical information the

defendant might require to consider his repeated request for an accommodation.

       32.    In the email the plaintiff specifically requested that further communications about

his request for a reasonable accommodation be made in writing.

       33.    The plaintiff provided updated medical releases, permitting the defendant to

communicate with his medical treaters.

       34.    The plaintiff’s cardiology team wrote a letter to the Occupational Health Center

stating its recommendation that the plaintiff continue to work remotely from home.

       35.    On or about August 7, 2023, and despite the plaintiff’s request that

communications be made in writing, a staff person from the Occupational Health Center

contacted the plaintiff.

       36.    On or about August 15, 2023, Kate Olsen, the defendant’s Human Resources

Ethics and Compliance Manager, sent a letter to the plaintiff informing him, inter alia, that the

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defendant denied his request to work full time remotely from home as an accommodation for

his disabilities.

       37.      Olsen stated that the defendant had “approved an alternative accommodation of

allowing you to work remotely three days a week and onsite two days a week.”

       38.      At the time that the defendant offered the “alternative accommodation,” it was

aware that the “alternative” was contrary to the recommendations of the plaintiff’s medical

treaters.

       39.      Notwithstanding the above, the defendant directed the plaintiff to report to the

Occupational Health Center by August 21, 2023, or it would regard him as having “resigned”

his position.

       40.      The plaintiff did not return to work due to his medical restrictions.

       41.      As a result of the defendant’s failure to provide a reasonable accommodation to

the plaintiff, and the defendant’s termination of the plaintiff’s employment he has suffered

harm, including a loss of the wages and benefits of employment and pain, suffering, and

emotional distress.

VI.    COUNT ONE: DISABILITY DISCRIMINATION IN VIOLATION OF THE ADA

       1.       The plaintiff re-states, re-alleges, and incorporates by reference paragraphs 1

through 41, above.

       42.      The defendant’s conduct as described above constitutes discrimination against

the plaintiff on the basis of disability in regard to the terms, conditions, and privileges of his

employment, including by limiting, segregating, or classifying the plaintiff in a way that



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adversely affected and affects his opportunities or status because of the plaintiff’s disability, in

violation of 42 U.S.C. §12112(b)(1).

VII.    COUNT TWO: FAILURE TO PROVIDE REASONABLE ACCOMMODATIONS IN
        VIOLATION OF THE ADA

        1.    The plaintiff re-states, re-alleges, and incorporates by reference paragraphs 1

through 41, above.

        42.   The defendant’s conduct as described above includes instances in which it

failed to make reasonable accommodations to the plaintiff’s known physical limitations where

the accommodation would not impose an undue hardship on the operation of the defendant’s

business in violation of 42 U.S.C. §12112(b)(5)(A).

        43.   The defendant’s conduct as described above includes instances in which it

denied employment opportunities to the plaintiff where such denial was based on the need of

the defendant to make reasonable accommodation to the plaintiff’s physical impairments in

violation of 42 U.S.C. §12112(b)(5)(B).

VIII.   COUNT FOUR: DISABILITY DISCRIMINATION IN VIOLATION OF THE CFEPA

        1.    The plaintiff re-states, re-alleges, and incorporates by reference paragraphs 1

through 41, above.

        42.   The defendant’s conduct as described above constitutes discrimination against

the plaintiff on the basis of physical disability in regard to the terms, conditions, and privileges

of his employment in violation of Conn.Gen.Stat. §46a-60(b)(1), including but not limited to

refusing the plaintiff’s request for a reasonable accommodation through the modification of

work schedules.


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                                   PETITION FOR RELIEF

      WHEREFORE, plaintiff respectfully requests that the Court order the following relief:

1.    Enjoin the defendant from discriminating against the plaintiff on account of his disability

and/or refusing to provide a reasonable accommodation to the plaintiff by reinstating him to

the position, seniority, and salary he would have obtained but for the defendant’s unlawful

conduct;

2.    Award plaintiff his economic losses, including lost wages and benefits of employment;

3.    Award plaintiff compensatory damages, including damages for his pain, suffering, and

emotional distress caused by the defendant’s wrongful conduct;

4.    Award the plaintiff his reasonable attorney’s fees and costs; and

5.    Such other relief as the Court deems appropriate.




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                                 REQUEST FOR A JURY TRIAL

The plaintiff respectfully requests a jury trial as to all of his claims to the extent that he
is entitled by law.




                                                   RESPECTFULLY SUBMITTED
                                                   ZACCHERY BELVAL,
                                                   THE PLAINTIFF, by

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